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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="b3edf8741d"&gt;&lt;span data-sentence-id="7c2949b19c" quote="false" data-paragraph-id="b3edf8741d"&gt; Victor Arnold Gabler, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="63964ce566" quote="false" data-paragraph-id="b3edf8741d"&gt; &lt;br /&gt; The People of the State of Colorado.&lt;/span&gt; Respondent &lt;/p&gt;&lt;p data-paragraph-id="200f56701a"&gt;No. 22SC424&lt;/p&gt;&lt;p data-paragraph-id="d3fe84847c"&gt;&lt;span data-sentence-id="d3fe84847c" quote="false" data-paragraph-id="d3fe84847c"&gt;Supreme Court of Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="284dcb3cbf"&gt;October 24, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="2123c2feb8"&gt;&lt;span data-sentence-id="f235fcbe6a" quote="false" data-paragraph-id="2123c2feb8"&gt; Court of Appeals Case No. 19CA1327 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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